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     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999
 8                               UNITED STATES BANKRUPTCY COURT
 9                                        DISTRICT OF NEVADA
10    In re:                                                    Case No.: BK-N-14-50333-btb
                                                                Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                                [Lead Case – Jointly Administered]
12
            Affects AT EMERALD, LLC                            Case No.: BK-N-14-50331-btb
13          Affects all Debtors                                Chapter: 11

14                                                              MOTION TO COMPEL
                                                                PRODUCTION OF REQUIRED
15                                                              KEY OR AUTHORIZE DRILL OUT
                                                                OF VAULT LOCK
16
                                                                Hearing Date: OST Requested
17
                                                                Hearing Time: OST Requested
18

19               Pursuant 11 U.S.C. 105, John Beach (“Beach”), as trustee of the Beach Living Trust
20   dated January 22, 1999 (the “Beach Trust”), by and through its attorneys of record, Holland &
21   Hart LLP, respectfully submits this Motion to Compel Production of Required Key or Authorize
22   Drill Out of Vault Lock (the “Motion”).
23               This Motion is supported by the following Memorandum of Points and Authorities.
24                          MEMORANDUM OF POINTS AND AUTHORITIES
25   I.          BACKGROUND
26             1.      On or about January 17, 2013, Debtor executed that certain Promissory Note
27   Secured by Pledge and Security Agreement (the “Note”) whereby Debtor promised to pay to the
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 1   Beach Trust the original principal sum of $500,000.00, together with all accrued interest, fees,

 2   and costs due thereunder.

 3           2.     In order to secure the repayment of the Note, Debtor executed a Pledge and

 4   Security Agreement (the “Security Agreement”) wherein the Debtor granted to the Beach Trust a

 5   security interest in that certain 23 kilogram black schist stone including a green crystal beryl

 6   (natural emerald) of approximately 22,500 carats, which stone is commonly known as the

 7   “Thomas Emerald.”

 8           3.     The Thomas Emerald is described on Debtor’s Schedule B on file herein.

 9           4.     The Thomas Emerald constitutes property of the Debtor’s estate.

10           5.     The Beach Trust filed its UCC-1 Financing Statement with the Nevada Secretary

11   of State as Document Number 2014003009-2 on February 4, 2014.

12           6.     The original maturity date of the Note was January 17, 2014.

13           7.     Debtor defaulted under the terms of the Note by failing to pay the amounts due at

14   maturity.

15           8.     Debtor has not made any payments on the Note.

16           9.     The Thomas Emerald is currently held at the Sarasota Vault, 640 South

17   Washington Blvd., Suite 125, Sarasota, Florida, 34236 (“Sarasota Vault”).

18           10.    On March 4, 2014, Debtor filed its voluntary chapter 11 petition herein (the

19   “Petition Date”).

20           11.    As of the Petition Date, the amount due under the terms of the Note was in excess

21   of $535,000.00.

22           12.    In its schedules and statements on file herein, Debtor alleges that the Thomas

23   Emerald is valued in excess of $200,000,000.00. See Dkt. 1-1 at p. 12.

24           13.    Debtor has not made any post-petition payment to the Beach Trust.

25           14.    On June 24, 2014, the Beach Trust obtained authority pursuant to FRBP 2004 to

26   examine the person most knowledgeable of the Sarasota Vault, including access to and

27   inspection of the Thomas Emerald. See Dkt. 93.

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 1           15.    The 2004 examination of the person most knowledgeable of the Sarasota Vault,

 2   including access to and inspection of the Thomas Emerald, was originally scheduled to occur on

 3   July 10, 2014. Id.

 4           16.    On July 2, 2014, the Beach Trust received a letter from counsel for the Sarasota

 5   Vault. A true and correct copy of the July 2, 2014 letter is attached hereto as Exhibit 1 and

 6   incorporated herein by reference. The July 2, 2014 letter sets forth the following points:

 7                  a.     Access to the subject box at the Sarasota Vault is controlled by a two-key

 8   system, where one key is controlled by Debtor; and

 9                  b.     Without the second key, the only way that the subject box could be opened

10   is for a locksmith to drill the locks and replace them at the conclusion of the examination, for a

11   fee of approximately $200.00. Id.

12           17.    On June 23, 2014, Debtor filed its Motion to Sell Assets Free and Clear of Liens

13   and Motion to File Purchase and Sale Agreement under Seal (the “Motion to Sell”). See Dkt.

14   40.

15           18.    The hearing on the Motion to Sell has been continued to July 21, 2014. See Dkt.

16   114.

17           19.    On July 3, 2014, counsel for the Beach Trust communicated with counsel for the

18   Debtor on whether the Debtor planned to provide the second key to access the vault and inspect

19   the Thomas Emerald.

20           20.    To date, Debtor has not provided the necessary key to access the vault or

21   indicated that Debtor would do so. Instead, Debtor’s counsel indicated that only after the Motion

22   to Sell is heard on July 21, 2014, would Debtor consider the request to provide the second key

23   necessary to open the vault and inspect the Thomas Emerald.

24           21.    On July 9, 2014, the Beach Trust filed a notice of continuing the examination of

25   the person most knowledgeable of the Sarasota Vault to August 5, 2014. See Dkt. 115.

26           22.    Concurrently herewith, the Beach Trust intends to further continue the

27   examination of the person most knowledgeable of the Sarasota Vault to August 12, 2014.

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 1   II.     RELIEF REQUESTED

 2           The Beach Trust seeks an order either compelling the production of the key necessary to

 3   open the vault and inspect the Thomas Emerald, or an order authorizing the removal and

 4   subsequent replacement of the current locks.

 5   III.    LEGAL BASIS FOR RELIEF REQUESTED

 6           This Court has inherent powers to to impose sanctions related to discovery abuses. The

 7   Ninth Circuit has recognized that, “[t]he inherent powers of federal courts are those which are

 8   necessary to the exercise of all others, and include the ‘well-acknowledged’ inherent power to

 9   levy sanctions in response to abusive litigation practices.” Fjelstad v. American Honda Motor

10   Co., 762 F.2d 1334, 1338 (9th Cir.1985) (citing Roadway Express, Inc. v. Piper, 447 U.S. 752,

11   764–65 (1980)). “[A] bankruptcy court's inherent power allows it to sanction ‘bad faith’ or

12   ‘willful misconduct,’ even in the absence of express statutory authority to do so. It also ‘allows a

13   bankruptcy court to deter and provide compensation for a broad range of improper litigation

14   tactics.” In re Lehtinen, 564 F.3d 1052, 1058 (9th Cir. 2009). Sanctions imposed under a court’s

15   inherent powers must be either compensatory or designed to coerce compliance. In re Dyer, 322

16   F.3d 1178, 1192 (9th Cir. 2003).

17           Under its “inherent powers,” a district court may also award sanctions in the form of

18   attorneys' fees against a party or counsel who acts “in bad faith, vexatiously, wantonly, or for

19   oppressive reasons.” Leon v. IDX Systems Corp., 464 F.3d 951, 961 (9th Cir. 2006). A party

20   “demonstrates bad faith by delaying or disrupting the litigation or hampering enforcement of a

21   court order.” Id.

22           Here, Debtor’s bad faith is evident from the fact that Debtor withheld crucial information

23   about the necessity of a second key to open and access the vault where the Thomas Emerald is

24   stored, even after receiving notice of the planned inspection. It was only after counsel for the

25   Sarasota Vault disclosed that the second key was necessary did it become apparent that Debtor

26   had the required key, and that Debtor had never disclosed that the key was necessary. In other

27   words, the facts support a finding that Debtor was prepared to allow the examination at the vault

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 1   on July 10, 2014 to go forward, with full knowledge that the examination would be fruitless

 2   without the required second key in Debtor’s possession. This omission constitutes a bad faith

 3   attempt at delay by disrupting or hampering the enforcement of the order authorizing the

 4   examination of the person most knowledgeable of the Sarasota Vault and the Thomas Emerald.

 5           The Beach Trust is not interested in blocking or opposing the proposed sale of the

 6   Thomas Emerald. However, in the event that the proposed sale falls through, the Beach Trust

 7   simply requests an opportunity to examine the Thomas Emerald in its current location at the

 8   Sarasota Vault. A limited sanction compelling the production of the key necessary to open the

 9   vault and inspect the Thomas Emerald, or an order authorizing the removal and subsequent

10   replacement of the current locks is requested by this Motion.

11   IV.     CONCLUSION

12           WHEREFORE, for the reasons stated herein, the Beach Trust respectfully requests that

13   this Court enter an order compelling the production of the key necessary to open the vault and

14   inspect the Thomas Emerald, or an order authorizing the removal and subsequent replacement of

15   the current locks.

16           Dated this 17th day of July, 2014.

17                                         HOLLAND & HART LLP

18                                                /s/ Joseph G. Went
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                      EXHIBIT 1




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